This is a proceeding in mandamus. It is in all respects identical with the case entitled Civic Center Assn. of LosAngeles v. Railroad Commission (L. A. 5028), ante, p. 441, [166 P. 351], this day decided, except that the plaintiffs here are the cities of Pasadena, Alhambra, San Gabriel, and South Pasadena, each of which claims a sufficient interest to maintain the proceeding. All other questions, save their right to sue in that behalf, are discussed and decided in the other case. No private right is in issue. The question of their right to maintain such a proceeding is not of itself of enough importance here to justify this court, burdened as it is with the press of real cases, in taking time to consider it.
The proceeding is dismissed. *Page 813 